Case 1:21-cr-00046-ERK Document 66 Filed 04/15/21 Page 1 of 1 PagelD #: 1018

From: Kaveh Afrasiabi

Sent: Thursday, April 15, 2021 12:14 PM
To: Samuel Rosh; Talia Cohen

Subject: letter to the Court

CAUTION - EXTERNAL:

Dear Clerk:

Please the Judge know that with the status hearing only a few days away, | still have
not received the discovery as promised by US attorney Richardson over three weeks
ago. This is abusive of my rights as a pro se and puts me at a marked disadvantage for
the upcoming hearing.

Yours,
Afrasiabi, Pro Se

CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution
when opening attachments or clicking on links.
